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                              Exhibit C




{01240268-1 }
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 Aaron Lebenta

 From:                                  Miller, Terry <millerte@SEC.GOV>
 Sent:                                  Thursday, October 05, 2017 12:24 PM
To:                                    Aaron Lebenta
Cc:                                     Carlyle, Zachary T.; Jonathan D. Bletzacker; Brent R. Baker
Subject:                                RE: SEC v. Alpine



Aaron,


Thanks for the email. We are working on a letter that will respond to most of this. Your understanding in item
                                                                                                                  number
4 is not correct. We're not going to supplement Table B. I'm checking on feasibility of separating work
                                                                                                          product from the
factual data to see if we can provide a list of deposits and associated SARs that can be used together with Table
                                                                                                                  B to
identify deposits associated with the transactions listed in Table B.


Thanks,


Terry R. Miller
303-844-1041
millerte@sec.gov




From: Aaron Lebenta [mailto:ADL@ClydeSnow.com]
Sent: Wednesday, October 04, 2017 6:42 PM
To: Miller, Terry
Cc: Carlyle, Zachary T.; Jonathan D. Bletzacker; Brent R. Baker
Subject: SEC v. Alpine


Terry,


This email follows up our October 3, 2017 letter and memorializes our conversation this morning during our
                                                                                                           meet-and-
confer telephonic conference regarding the SEC's production on September 29, 2017. Based on our conversation,
                                                                                                              it is
our understanding:


      1.    With respect to the SARs identified on Table A, which you indicated in the September 29, 2017 letter relates
                                                                                                                          to
           allegations in Paragraphs 28-33 of the Complaint, you have confirmed the following: For any SAR listed on Table
           A that does not also have a "supporting file" identified, the SEC is solely alleging that the SAR narrative is
           "deficient on its face." However, you have not identified the basis for your contention that the SAR narrative
                                                                                                                           is
           "facially deficient." Can you provide additional detail as to what is meant by the phrase "deficient on its
           face"? We are also happy to have a further discussion on this issue.


   2.       For the remaining SARs identified on Table A, i.e. those SARs for which supporting files are listed on Table
                                                                                                                            A, the
           SEC is alleging that those SARs are deficient on the basis that Alpine failed to identify "red flags" in the SAR
                                                                                                                            that
           were located in the referenced supporting file for that particular SAR.


   3.       With respect to item No. 2 above, we also discussed this morning that Table A does not identify any alleged
           "red flags" of which Alpine was purportedly aware that were allegedly omitted from the SARs at
           issue. Accordingly, we explained that we would be left to guess at what information in Alpine's files the SEC
                                                                                                                         is
           alleging constitutes a "red flag" for each specific transaction, and thus what information the SEC claims was
           omitted from each SAR that allegedly caused it be deficient. Stated otherwise, without knowing what
           information the SEC believes is a red flag for each transaction, we cannot tell why the SEC claims that a

                                                                 l
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              particular SAR listed on Table A is deficient, or whether that information is even
                                                                                                 in Alpine's files. As discussed
             this morning, and as set forth in our October 3, 2017 letter, we believe that you stipulated
                                                                                                             during the September
             15, 2017 Rule 26(f) conference to provide this information to us. In addition, although
                                                                                                         we believe it is
             unnecessary based on the stipulation, under our reading of Local Civil Rule 33.3,
                                                                                                  we cannot, without leave of
             Court, serve an interrogatory seeking this information at this time. Also, the prospects
                                                                                                         of conducting a Rule
             30(b)(6) deposition to acquire this information would not only be unnecessary due
                                                                                                    to the stipulation, but would
             also be daunting in length and scope as there are over 1,500 SARs identified in Table
                                                                                                      A with supporting files
             listed. We understand that you will get back to us in the next 2 days to provide
                                                                                                the SEC's position on this issue.

       4.     With respect to the SARs identified on Table B, we understand that you will suppleme
                                                                                                        nt Table B by adding a
             column that identifies each SAR filed on the deposit of securities at issue, and links
                                                                                                    that SAR to the alleged
             "liquidation" or other transactions that are currently identified in Table B. We
                                                                                               also understand that you will get
             back to us in the next 2 days to provide the SEC's proposed timeline to provide
                                                                                                this information.

 As we discussed, we believe the SEC currently has or should have access to
                                                                                   all of the above information in its records,
 including in its investigative files, given that the SEC filed its Complaint at the
                                                                                      beginning of June of 2017 based, at least in
 part, on these allegations, after investigating the case for several years. Please
                                                                                        let us know if you believe that we have
 mischaracterized anything during our discussion. If you want to discuss anything
                                                                                  further, please feel free to contact us.

 Regards,


Aaron D. Lebenta


ClydeSnow
ATTORNEYS AT LAW
201 South Main Street, Suite 1300
Salt Lake City, UT 84111
P: 801.322.2516
F: 801.521.6280
www.clvdesnow.com
adl@clvdesnow.com

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